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INTHE CIRCUIT. COURT OF THE TWENTIETH JUDICIAL.
“ CIRCUIT IN AND FOR COLLIER COUNTY, FLORIDA

"CIVIL ACTION
"* LARK PEAR LLC
CASE NO: 2023-CA-000111.
_ Plaintiff, Te JUDGE: Lauren Brodie’
se AUSE OF ACTION -
1. BREACH OF CONTRACT °
MVP. REALTY ASSOCIATES,
LLC.
Defendant(s). vs
- I
2ND AMENDED COMPLAINT

COME NOW the Plaintiff, CLARK: PEAR LLC by. and. through the undersigned e¢ counsel,
‘and sues the Defendant, MVP REALTY: ASSOCIATES, LLC ,a Florida Corporation, and
would state as follows ‘in’ ‘support thereof:
1. . This action i is brought. for damages that exceed thirty-thousand doliats
($30, 000: 00), exclusive of. attorney fees, costs and expenses. a
2. Plaintiff, Clark Pear LLC (hereinafter, “Plaintiff”), i is a resident of Collier County,
. F lorida, ‘and: sui juris., .
3. Defendant, MVP Realty Associates LLC;.was at all times material hereto a Florida
Corporation-with its principal place of business.in Collier County, Florida: _
4, Derek Carlson, at all times material hereto, was the Manager and registered agent of
Defendant, MVP Reaity Associates LLC.

A mended Complaint -Clark Pear LLG v, MVP Real
"Pagel of 11:

FILED: COLLIER COUNTY, CRYSTAL K. KINZEL, CLERK, 05/26/2023 11:55:13 PM
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JURISDICTION AND VENUE

5. MVP Realty Associates LLC and Derek Carlson at all times material hereto,
conducted business in Collier County, FL elicited business in Collier County Florida
and entered into an Assignment of Claims Agreement with Clark Pear LLC (See
Exhibit A). Notarized and agreed to by MVP Realty Associates LLC and Derek
Carlson in Collier County, FL.

6. Defendant, MVP Realty Associates LLC and Derek Carlson, at all times material
hereto, conducted business in Collier County, Florida, elicited business in Collier
County, Florida,.and entered into the Commercial Listing Agreements and “AS IS”

‘Residential Listing Agreements hereinafter, collectively, (“Fox Listing”) for certain
real property—1312 Highlands Dr & 1348 Highlands Dr, Naples, FL 34103:
(Residential Properties); and 1072 N. Alhambra Cir, 1097 Highlands Dr., 1290.
Highlands Dr., 1358 Highlands Dr., Naples, FL-34103 (Commercial Properties),
(collectively, hereinafter, the (“Fox Properties”)— located in Collier County,
Florida and owned by Naples3912, 34102 Investments LLC, and Elizabeth Fox.

7. Defendant, MVP Realty Associates LLC and Derek Carlson, at all times material

hereto, conducted business in Collier County, FL elicited business in Collier County
Florida, and entered into Listing Agreement with Buoy I LLC and Grider Revocable
Trust, Respectively; hereinafter, collectively, “Grider/Buoy Listing” for 292 Capri
Blvd, Naples, FL 34113 and surrounding parcels totaling 4.33 acres (collectively,
hereinafter, the “Grider/Buoy Properties”) Owned by Grider Revocable Trust, Buoy I
LLC, Tammy and Paul Grider, and John Rogers.

8. MVP Realty Associates LLC and Derek Carlson, at all times material hereto,
conducted business in Collier County, FL elicited business in Collier County
Florida, and entered into Listing Agreement with Lake Jefferson LLC and/or assigns
for real property located.at ACCESS UNDETERMINED BOKEELIA FL 33922 -
(Parcel 3 for self storage and Orchid Cove Parcel, and property located at 750:
Goodlette, Naples, FL 34102 (collectively here in after the “Higgs Properties”) -
located in Lee County, FL owned by Lake Jefferson LLC /William Higgs and

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10.

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Power Corporation of Collier County, FL.

At all times material hereto, the Circuit Court of the Twentieth Judicial Circuit of
Palm Beach County, Florida retained jurisdiction over Defendant, MVP Realty

Associates LLC. (hereinafter, collectively “Defendant”).

Jurisdiction is in Palm Beach County, FL and proper venue in Palm Beach County,
Florida, or Collier County due to residence of Defendant and consent.
All conditions precedent to the filing of this action have occurred, been fulfilled,
waived, excused, or otherwise satisfied.

FACTS

Plaintiff has hired LAW OFFICE OF THOMAS G. NEUSOM, P.A. ATTORNEY
AT LAW 4737 N. OCEAN DRIVE, #129 FORT LAUDERDALE, FL 33308
TELEPHONE: (954)200-3536 — Florida Bar: 0037148 to represent, in the:

‘prosecution of this lawsuit.

On December 13, 2021 requested assistance in pursuing claims on Fox Properties

and Grider/Buoy Properties and Carlson stated “Clark”! Whenever an agent wants

to pursue legal recourse against a client I typically sign a form transferring my

rights over to the agent. That way they can go after the client directly. By signing

this form my concern is that I could be on the hook for the legal fees. I"Il have my

attorney review it to make sure that cannot happen “

On December 14th, 2021 Defendant stated in'an email and confirmed that Carlson,
on behalf of Defendant MVP Realty Associates, LLC, would be assigning rights to
pursue claims on Fox Properties'and Grider/Buoy Properties over to Plaintiff. “
Carlson said he will be transferring MVP’s rights on this dispute/lawsuit to you.
That way itis 100% direct between you and your.attorney and the sellers” and the
Agreement was contracted to commence December 15, 2021 and terminate only

when claims were received by Plaintiff or Plaintiff lost in court. See Exhibit A

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15.. On:or about December 15 2021, Plaintiff entered into an Assignment of Claims
Agreement hereinafter, collectively, (the “Agreement”) and (See Exhibit A) with
Carlson and Defendant for the pursuit of claims against sellers of the Fox Properties
and Grider/Buoy Properties who had defaulted on Fox Listing agreement and

-Grider/Buoy listing agreements.

16... Onor about December 15, 2021, Listing Broker, Defendant MVP Realty
Associates, through and by Carlson, assigned its claims and rights under the

Assignment of Claims Agreement to Plaintiff.

‘17. Plaintiff has grounds to bring this cause of. action against Defendant, because
Defendant, through its alter ego, Carlson, refused to cooperate with Plaintiff in the pursuit
of commission claims for $1,625,000 for Defendant and Carlson’s unlawful justifications
and Defendant is in breach of contract per Florida Statutes 672.301, providing that “every:
person who has a cause of action arising out of a contract may bring an action to recover

damages or other relief to which he or she will be entitled”

18. Per Florida Case Law, Graham vs Burnette, Plaintifff can pierce the corporate veil to
sue Carlson and the Defendant, if the officer committed fraud or perpetuated a wrong and

Defendant and Carlson did both.

19, Due to Defendants actions of breach of contract the Plaintiff suffered consequential
damages of $26,625,000 backed by Florida Supreme Court case law, Florida Power'&
Light Co. v.. Westinghouse Elec..Corp., 510 So.2d 899 (Fla. 1987), and is filing this lawsuit

for consequential damages.

20. Plaintiff performed all of his obligations under the Agreement and spent considerable

time, money, and effort pursuing the claims per the terms of the Agreement.

21. Plaintiff’s obligations under the Agreement consisted of pursuing claims as deemed.

absolute, and unconditional, and Defendant assigned away its rights for cause.

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22. Under the Agreement, deemed as absolute and unconditional, The Claims were

assigned by Assignor to Assignee for the purpose of collection and satisfaction.
23. Plaintiff never terminated the Agreement. Nor did defendant

.24. Despite signing off on Agreement, on or about April 13, 2022 Carlson and Defendant
refused to abide by the terms of the Agreement with Plaintiff and refused to assist Plaintiff
in pursuit of real estate commission claims based on his own personal opinion and that of
his attorney, and blatantly disregarded the Agreement with the Plaintiff and Defendant, and

formed their own judgement on Plaintiffs pursuit of claims.

25. Throughout the tenure of the Agreement, before any termination by Defendant,

Plaintiff performed his obligation under the Agreement by pursuing real estate claims.

26. On or about April 13th, 2022, Plaintiff brought to Carlson and Defendant, a valid claim
with instructions on how to move forward via filing of lien and filing of complaint on

Grider Properties.

27. On or about April 14th, 2022 Carlson writes in response “Clark, I sent your question
over to my attorney. As soon as I get an answer from him I will be able to respond. Thanks

Derek”

28: On or about April 23, 2022, after getting no cooperation on filing of lien Plaintiff
writes, “Hello Derek, hope all is good and congrats on the Tom Brady stuff. Looks like we
missed our window.on filing a lien on Isles of Capri deal for $900k, as they just closed last
Monday with another party, so I will pursue them for a judgement. Regarding my 750
goodlette case, have you heard back from your attorney about filing liens and/or procuring
cause? It would help the case big time if I get an assignment of rights to senda demand
letter and pursue the seller for a judgement? I have only had one commission dispute in 20
years in the business until this year, now 3 so this has been crazy stressful and everything. I
worked for all year so really appreciate your consideration, Best,” Plaintiff further tried to
get Defendant to cooperate with assignment of claims agreement with no cooperation to
assignment of claims agreement from Carlson for his own ‘unlawful reasons, and

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justifications.

29. On or about October 21, 2022; Plaintiff brought to Defendant, a valid claim with
instructions on how to move forward on Fox Properties case when he wrote “ Hello Derek,
Looks like I"m going to have to proceed with a lawsuit against Fox/Naples 3912. Let me
know some time(s) when your free to chat about moving forward so we can all coordinate
w my attorney. Thanks again for your help and please let me know as soon‘as possible.

Best, Clark”

30. Defendant, through it’s alter ego, Carlson, refused to cooperate, and emailed, “Clark,
will forward this over to my attorney. What is my liability if you lose this case?
Considering you left my company and haven"t paid your outstanding invoice I have zero
protection. Does that open me up to a counter lawsuit for Fox? Will I have to pay their.

attorney fees if you lose? “ I'll talk to my attorney about this again. Derek .”.

31. Plaintiff, in the Fox Properties case had four buyers execute either letters of intent or
purchase.and sale agreements (PSA’s), and had full price offers, and/or proof of funds to

support offers.

32. Plaintiff was also unable, because of Carlson’s and defendants actions, to pursue
additional claims against Higgs Properties for default on listing agreements for two-other
properties, and a procuring cause claim for $275,000. Plaintiff brought seller full priced
offers and seller refused to cooperate. Per the terms of the commission agreement the seller
was in default and Plaintiff was owed a commission for each property. Because of"
Defendant’s refusal to cooperate, Plaintiff lost claims.and any chance for another $475,000

in commissions.

33. On or about April 13, 2022 and October 21, 2022 Defendant refused to cooperate with
Plaintiff per terms of assignment of claims agreement, for Carlson’s and Defendant's own

unlawful reasons and justifications.

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34. Thereafter, on or about December 12, 2022 plaintiff hired:

LAW OFFICE OF THOMAS G. NEUSOM, P.A., ATTORNEY AT LAW, 4737 N.
OCEAN DRIVE #129 FORT LAUDERDALE, FL 33308 to represent him ina breach of

contract, consequential damages, case with Defendant.

COUNT I- PLAINTIFF CLARK PEAR LLC FILES BREACH OF CONTRACT
AGAINST. DEFENDANT, MVP Realty Associates LLC.

35. This is an action for breach of contract against Defendant in excess of $30,000.00,
exclusive of interest and costs. Defendant is in breach of contrac,t as (1) There is an
existence of a valid contract that was fully executed and notarized on or about December
15, 2021; (2) Defendant is in “Material” breach of obligations under the contract, and
Defendant through its alter ego Carlson, failed to perform the obligations laid out within the
Agreement, and (3) As a direct and proximate result of Defendants actions, there were
significant financial damages of $28,250,000 to Plaintiff , resulting from the Defendants
breach of contract. The Defendant’s failure to perform, duty and breach of obligations of
the Defendant towards the plaintiff have caused this action: Florida case law, Baptist
Health South Florida, Inc: v. North American Capacity Insurance Co: (Fla. 2003),
establishes that a:party can sue for breach of contract if the other party fails to perform its
contractual obligations.

36.. Plaintiff realleges and incorporates by reference paragraphs. 1 through 35, as well as all
exhibits and composites thereto, as if set forth in full herein. ,

37. Defendant, MVP Realty Associates LLC is sued individually for it’s breach of contract
as described herein: The Defendants failure to perform duties and breach of obligations of
the Defendants towards the Plaintiff, have caused this action. Per Florida Case Law
Graham Vs Burnette, Plaintifff can pierce corporate veil if the officer committed fraud or
perpetuated a wrong and Derek Carlson did both. Plaintiff intends to pierce the corporate

veil.

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38. On December 13, 2021 Defendant Stated “Clark! Whenever an agent wants to pursue
legal recourse against a client I typically sign a form transferring my rights over to the
agent. That way they can go after the client directly. By signing this form my concern is
that I could be’on the hook for the legal fees. I’Il have my attorney review it to make sure
that cannot:happen

39. On December 14th, 2021 Defendant stated in an email to Plaintiff “I will be
transferring my rights on this dispute/lawsuit to you. That way it is 100% direct between
you and your attorney and the sellers” The Agreement was contracted to commence
December 15, 2021 and terminate when claims were received by Plaintiff or Plaintiff lost in
court. See Exhibit A

40. Plaintiff and Defendants entered into the Agreement on or about December 15, 2021,
wherein Defendants agreed to cooperate with Plaintiff in his pursuit of claims with No
consideration and despite Plaintiffs best efforts Defendant has failed to comply causing this
action.

41. Plaintiff has performed his obligations under the Agreement by engaging attorneys to
send demand letters, setting mediations, preparing complaints, responses, and net lien
paperwork for the pursuit'and enforcement of claims on commissions and monies owed to
Defendant for performing duties as contractually agreed.. And, making diligent and
continued efforts to pursue the claims in accordance with the Assignment of Claims
Agreement with Defendant until a settlement and/or judgement was reached.

42. Despite Plaintiffs performance and best efforts to get Defendant to cooperate,
Defendant has failed to complete or even substantially complete their end of the
Agreement, including, but not limited to cooperating with the plaintiff described as
executing, delivering and filing or cause to be executed, delivered and filed such further
documents and instruments, as may be necessary or reasonably requested in order to
effectuate fully the purposes of this Assignment and executing any other documents
necessary to carry out the intent of the Assignment and record any and all documents and
instruments at the appropriate government office in order to carry out the intention of this

Assignment.

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43. Asa direct and proximate result of Defendant’? breach of the contract, Plaintiff has
suffered what Plaintiff believes are great financial damages in the amount of $1,625,000 in
commission claims, and consequential damages of $28,250,000. As a consequence of
Defendant’s breach of contract, Plaintiff was unable to expand Plaintiff's business and lost
profits of an additional $1,625,000, established business relationships suffered, and Plaintiff
was unable to participate in a development deal and incurred monetary losses of
$25,000,000. Defendant breached contract with Plaintiff through unlawful and wrongful
means. Defendant and its alter ego Carlson’s, action of failure to perform duty, and breach

of obligation of the Defendant towards the Plaintiff, have caused this lawsuit to be filed.

44. Defendant violated all three elements of breach of contract ( 1) a valid
agreement/contract was in place that defendant refused to abide by (Exhibit A), (2) a
material breach of the valid agreement took place due to Defendant’s failure to abide by the
contracts terms for Defendant’s own unlawful justifications thus rendering the agreement
irreparably broken and defeating the purpose of entering the agreement in the first place,
and Plaintiff sustained a substantial financial losses and direct damages’ of $1,625,000 in
commission claims due to this material breach, and Per Florida Case Law Graham Vs.
Burnette, Plaintiff can pierce the corporate veil if the officer committed fraud or
perpetuated a wrong and Derek Carlson did both.

(3) Plaintiff suffered consequential damages in the amount of $1,625,000 in forseeable
commissions from Plaintiffs business efforts, and Plaintiff extimates an additional financial
damage of $25,000,000 in development deal profits, all lost as a direct result of the material

breach of contract by the Defendant.

45. Plaintiff requests that he be given damages according to proof.

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46. Due to Assignment of Claims Agreement section 8.10 Waiver of Jury Trial clause, _

Plaintiff hereby demands a Trial By Judge.
-~ WHEREFORE Plaintiff respectfully requests that this Court:

‘1. Enter judgments against Defendant MVP Realty Associates LLC for damages plus
interest, costs, attorneys’ fees, and such further relief as the Court deems necessary or _

proper.

Respectfully Submitted,

LAW OFFICE OF THOMAS G. NEUSOM, P.A. ATTORNEY AT LAW 4737 N.
OCEAN DRIVE, #129 FORT LAUDERDALE, FL 33308

‘TELEPHONE: (954)200-3536

Email: tgnoffice35@gmail.com Counsel for Plaintiff
By: /s/ Thomas Neusom

Thomas Neusom
Florida Bar: 0037148

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CERTIFICATION OF SERVICE

Thereby certify the above has been furnished via the F lorida E-filing-Portal Court to Nabil
Joseph (nabilnilawflorida.com) and all other parties on the portal on May 26, 2 2023

— LAW OFFICE OF THOMAS G. NEUSOM, P.A. ATTORNEY AT LAW 4737 N.
OCEAN DRIVE, #129 FORT LAUDERDALE, FL 33308
. TELEPHONE: (954)200-3536

. Email: tgnoffice3;@email com Counsel for Plaintiff
By: /s/ Thomas Neusom

Thomas Neusom |
- Florida Bar: 0037148

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EXHIBIT A

ASSIGNMENT OF CLAIMS AGREEMENT

‘THIS ASSIGNMENT OF CLAIMS AGREEMENT (this “Agreement”) dated as of the __
day of December, 2021 is entered into by between, MVP REALTY ASSOCIATES, LLC, a
Florida limited ‘liability. company, having an address of 1495 Pine Ridge Road, #1, Naples, FL
34109 (hereinafter referred to as “Assignor”) and CLARK PEAR LLC, a Florida limited liability
company, having an address of 898 5th Avenue South, Suite 202, Naples, FL.34102 or its
successor(s) or assign(s) (“Assignee”).

WITNESSETH:

WHEREAS, MVP REALTY. ASSOCIATES, LLC as seller, transaction and/or buyer’s
brokerage of the following real estate purchase and sale agreements, isa potential or actual
claimant in potential litigation against parties to the following’ contracts: as the Seller(s)’
Brokerage in Sales Contract (Residential Improved Property) dated November 6, 2021 and/or its
corresponding listing agreement(s) involving 840 Meadowland Drive Unit 11-1, Naples, Florida
43108 that did not close despite ready, willing and able buyer(s); as the Seller(s) Broker in the
‘Commercial Contract offer dated December 2, 2021, corresponding listing agreement(s), and/or
other contracts or offers involving 1348 Highlands Dr, Naples, FL 34103, 1358 Highlands Dr,
‘Naples, FL 34103, 1097 Highlands Dr, Naples, FL 34103, 1290 Highlands Dr, Naples, FL 34103,
1312 Highlands Dr, Naples, FL 34103, and/or 1072 Highlands Dr, Naples, FL 34103 that did not
close despite ready, willing and able buyer(s); and as a Transaction. Brokerage in Commercial
Contract dated November 6, 2021, corresponding listing agreement(s), commission agreements
(including any and all of the 21 parcels contained within), and/or other contracts or offers
‘involving approximately 4.33 acres on or near 292 Capri Blvd in Naples, FL that did not close
despite ready, willing and able buyer(s) (collectively. the “Claim” or “Claims”). Such Claims
include (or extend to), but are not limited to, any Claims against third parties and any contractual
party’s beneficiaries, assigns, or successors.

WHEREAS, the Assignor desires to assign the Claims to Assignee and Assignee desires
‘to purchase the Claims, as defined below;

WHEREAS, Assignor has full right power to execute the Assignment in connection with
this Agreement; and

WHEREAS, Assignee, in consideration of this Agreement, has paid ten dollars ($10) and
other good and valuable consideration (the “Payment”), in. exchange for assignment of
Assignor’s interest in the Claims. In exchange for the Payment, receipt of which is
acknowledged ‘by Assignor, Assignor has agreed to irrevocably, sell, convey, transfer and assign
One Hundred Percent (100%) of the Claims to Assignee.

NOW THEREFORE, in consideration. of the foregoing and the. representations,
warranties, covenants, agreements, and conditions set forth herein, the receipt.and sufficiency of
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® which is hereby acknowledged, and each party, intending to be legally bound, hereby agrees as
follows:

AGREEMENT

1. RECITALS., The recitals set forth above are true and correct and are incorporated by
reference herein.

2. CLAIM. MVP REALTY ASSOCIATES, LLC as seller, transaction and/or buyer’s
broker for the. following real estate purchase and sale agreements, listing agreements,
commission agreements, and the like, is a claimant in potential litigation against parties to the
following contracts: as’ the Seller(s)’ Brokerage in Sales. Contract: (Residential. Improved
Property) dated November 6, 2021 and/or its corresponding listing agreement(s) involving
840 Meadowland Drive Unit 11-1, Naples, Florida 43108 that did not close despite ready,
willing and able buyer(s); as the Seller(s)’ Brokerage in Commercial Contract offer dated
December 2, 2021, corresponding listing: agreement(s), and/or other contracts or offers
involving 1348 Highlands Dr, Naples, FL-34103, 1358: Highlands: Dr, Naples, FL 34103,
1097 Highlands Dr, Naples, FL 34103, 1290 Highlands Dr, Naples, FL 34103, 1312

°@ Highlands Dr, Naples, FL 34103, and/or 1072 Highlands Dr, Naples, FL 34103 that did not
close despite ready, willing and able buyer(s); and as a Transaction Brokerage in Commercial
Contract dated November 6, 2021,. corresponding listing agreement(s), commission
agreements (including any and‘all of the 21 parcels contained within), and/or other contracts
or offers involving approximately 4.33 acres on or near 292 Capri Blvd in Naples, FL that did
not close despite ready, willing and able buyer(s) (collectively the “Claim” or “Claims”).
Such Claims include (or extend to), but are not limited to, any claims against third parties and
any contractual party’s beneficiaries, assigns, or successors.

3. ASSIGNMENT OF CLAIMS. Subject to the terms and conditions of this Agreement, in
consideration of the sum of Ten Dollars ($10.00) and.other good and valuable consideration
(the “Purchase Price”), the Assignor agrees to irrevocably, sell, convey, transfer and assign
One Hundred Percent (100%) of ‘the Claims to Assignee, and: such Assignment. of Claim
Agreement. attached hereto as Exhibit “A” shall be executed on even date with this
Agreement: The Assignment of Claim shall be deemed an absolute and. unconditional
assignment of the Claims for the: purpose of collection and satisfaction and shall. not be
deemed to create a security interest.
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@ 4. EXECUTION. As per the Parties’ previous. conversations and mutual understanding,
each Party agrees ‘to furnish copies of this executed Agreement, and an executed copy of the.
Assignment of Claim attached hereto as Exhibit “A” to Russell Kerr, P.A. (“Russell Kerr”)
1044 N US Highway 1, Ste 202, Jupiter, FL 33477.

5, PROCEEDS. In the event Assignor receives recovery from any Claim subject to this
Agreement, then, within two (2) business days of receipt of any recovery under the Claims,
Assignor shall wire or direct its counsel to wire to Assignee any such proceeds upon receipt
and confirmation of wire instructions by Assignee.

6. NO REPRESENTATIONS AND WARRANTIES. The Claims are being assigned by:
Assignor to Assignee on. an. “AS IS” “WITHOUT RECOURSE” basis without any
representation or warranties. Notwithstanding the preceding, Assignor does warrant that the
undersigned has the authority to bind the Assignor and enter into said Agreement. Assignee
acknowledges ‘that, except as specifically set forth in this Agreement, neither Assignor nor
any agent or representative of Assignor has made any representation whatsoever to Assignee
regarding ‘the status of the Claims proceedings, the condition of the Claims (financial or
otherwise) or any other matter relating to the Claims.

7. BIG BOY CLAUSE. Each party acknowledges that (i other currently may have, and
later may come into possession of, information on the Claims or the status of the proceedings
of the Claims that is not known to it and that may be material to a decision to buy or sell the
Claim and all related rights (as appropriate) (the “Excluded Information”), (ii) it has not
‘requested the Excluded Information, and has agreed to proceed with the purchase or sale of.
‘the Claims and all related rights (as appropriate) hereunder without receiving the Excluded
Information, and (iii) the other party shall have no liability to it, and each party waives and
releases any claims that it might have against the other party or the other party’s affiliates,
‘employees, agents, representatives, and their respective: successors, assigns or designees
whether under applicable securities laws or otherwise, with respect to the nondisclosure of
the Excluded Information; provided, however, that.each party’s Excluded Information shall
not and does not affect the truth or accuracy of such party’s representations or warranties in
this Agreement.

8. MISCELLANEOUS
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8.1.

8.2.

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8.7.

8.8.

Headings. All Article and Section headings are for convenience only and shall not
be interpreted to enlarge or restrict the provisions of this Agreement.

Notices, All notices shall be in writing and shall be sent to the respective addresses
of the parties set forth in Schedule 1.

Binding Effect. This Agreement shall bind the parties hereto and their respective
personal representatives, heirs, successors and permitted assigns.

Amendment. This Agreement may be modified and amended only in writing signed

-by the parties hereto.

Severability. In the event any. provision of this Agreement shall be held invalid or

unenforceable i in any legal action, , by: any court of competent. jurisdiction or other
governmental authority, such holding. shall not invalidate or render unenforceable
any other provision hereof.

Applicable Law. This Agreement shall be governed by the laws of the State of
Florida, without regard to principles of conflict of laws and venue shall be
maintained exclusively in Palm Beach County, Florida. - 4... 1.

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Construction. The use of any gender; tense or conjugation herein shall be applicable
to all genders, tenses and conjpgations. _(The-use.of the. singular | shall include the
plural and the plural ‘shall include the ‘singular.

No. Conflicts;, Each, party, represents, and warrants that. neither the execution, and
delivery . of. this Assignment by such party, nor. the consummation or, performance by.
notice or F lapse of. time, ‘constitute, create ¢ or result i in: a breach or ‘violation of, “default
under, loss of benefit or right under or acceleration of performance of any obligation
required under any agreement to which it is a party.
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8.9. F urther Assiynment, Assignor hereby acknowledges that Assignee may at any time
reassign any or.all of the Transferred Rights, together with all right, title and interest ..
of Assignee in and to this Agrecment. All representations, warrantics, covenants and ~~
agreements contained hercin shall survive the cxccution and delivery of this
Agreement and any such reassigament, and shall’ inure to the benefit of Assignor,
Assignee and their respective successors and assigns of any party hereto; provided,
however, that the obligations of Assignor and Assignee contained herein shall’
continueand remain in full force and effect until fully paid, performed and satisfied. :

8.10. WAIVER OF JURY TRIAL. THE PARTIES HEREBY IRREVOCABLY AND -
UNCONDITIONALLY. WAIVE, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY RIGHT THAT THEY MAY HAVE TO TRIAL BY
JURY OF ANY CLAIM OR- CAUSE OF ACTION, OR IN ANY LEGAL
PROCEEDING, DIRECTLY OR INDIRECTLY BASED UPON OR ARISING OUT’
OF THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED BY THIS.
AGREEMENT (WHETHER BASED ON CONTRACT, TORT OR.ANY OTHER
THEORY). EACH PARTY (A) CERTIFIES THAT NO REPRESENTATIVE,
AGENT OR ATTORNEY OF THE OTHER PARTY IIAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN
THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING: -
WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTY . . .
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG.”
OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS.

SECTION.

ASSIGNOR: Sr ASSIGNEE:

MVP REAL
a Florida liphited) liability egmp,

By: f | vw A py: Clare Q) Pear

MathMized Perea —— Authoriééd Person

SSOciarne,-rhe, CLARK PEAR LLC,
ey) a Florida limited liability company

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SCHEDULE ]

Assignee Notice

CLARK PEAR LLC
Attn: Clark Pear
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898 Sth AVE SOUTH.
Suite 202
NAPLES, FL 34102

‘With a Copy to:

Russell Kerr, P.A.
1044 N US Highway 1
‘Suite 202
Jupiter, Florida 33477

’ Russell A. Kerr
rkerr@russellkerrlaw,com

Assignor Notice Information:

MVP REALTY ASSOCIATES, LLC.
' 1495 Pine Ridge Road #1
Naples, FL 34109

Russell Kerr Notice Information

Russell Kerr, P.A.
1044 N US Highway 1

. Suite 202
Jupiter, Florida 33477
‘Russell A. Kerr
rkerr@russellkerrlaw.com.
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EXHIBIT A

ASSIGNMENT OF CLAIM
ATTACHED

ASSIGNMENT OF CLAIM
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For value received, the adequacy and sufficiency of which are hereby acknowledged, on
December _, MVP. REALTY ASSOCIATES, LLC, a Florida limited liability company, having
an address or 1495 Pine Ridge Road, #1, Naples, FL 34109 (hereinafter collectively referred to

as “Assignor”), hereby unconditionally and irrevocably sells, sets over, transfers and assigns to
CLARK PEAR LLC, a Florida limited liability company, having an.address of 898 5th Avenue
‘South, Suite 202, Naples, FL 34102 or its successor(s). or assign(s) (“Assignee”). One Hundred
Percent (100%) of Assignor’s potential or actual claims as seller, transaction and/or buyer’s
broker for the following real estate purchase and sale agreements, listing agreements,
commission agreements, and the like: as the Seller(s)’ Brokerage in Sales Contract (Residential
Improved Property) dated November 6, 2021 and/or its corresponding listing agreement(s)
involving 840. Meadowland Drive Unit 11-1, Naples, Florida 43108 that did not close despite
ready, willing and able buyer(s); as the Seller(s)’ Brokerage in Commercial Contract offer dated
December 2, 2021, corresponding listing agreement(s), and/or other contracts or offers involving
1348 Highlands Dr, Naples, FL.34103, 1358 Highlands Dr, Naples, FL 34103, 1097 Highlands
Dr, Naples, FL 34103, 1290 Highlands Dr, Naples, FL 34103, 1312 Highlands Dr, Naples, FL
34103, and/or 1072 Highlands Dr, Naples, FL 34103 that did not close despite ready, willing and
able buyer(s); and as a Transaction Brokerage in Commercial Contract dated November 6, 2021,
corresponding listing agreement(s), commission agreements (including any and all of the 21
parcels contained within), and/or other contracts or offers involving approximately 4.33 acres on
or near 292 Capri Bivd in Naples, FL that did not close despite ready, willing and able buyer(s)
(collectively the “Claim” or “Claims”). Such Claims include (or extend to), but are not limited
to, any claims against third parties and any contractual party’s beneficiaries, assigns, or
successors.

TO HAVE AND TO HOLD its right, title and interest in the above described assets unto
Assignee, its successors.and assigns.

1. Assignor without additional consideration, to take such further action, to execute,
deliver and file or cause to be executed, delivered and filed such further documents, and
instruments, as may be necessary or. reasonably requested in order to effectuate fully the
purposes of this Assignment. mo

2. Assignor agrees to execute any y other documents r necessary to: ‘carry out the intent
of this Assignment and record any and all, documents and instruments at the appropriate
goverment office in order to carry out the intention of this Assignment.

3. In. the event Assignor receives recovery, from any Claim, then, within two (2)
business days of receipt of any recovery under the Claims, Assignor shall wire or direct its
counsel to wire to Assignee any such proceeds upon receipt and confirmation of wire instructions
by Assignee.
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4, This Assignment of Claim:shall be governed and construed by the laws of the

State of Florida and shall bind and inure to the benefit. of the parties hercto and their respective

successors and assigns...
(Signature page to > follow]

IN WITNESS WHEREOF, the parties to this Assignment have executed - this

Assignment of Claim as of the day and year first above written.

ASSIGNOR:
MVP REALTY ASSOCIATES, LLC
Witness.
By: ue —. wo
“Authorized Person . Witness

“Derer Hb Q&ov

STATE OF FLORIDA
CelLlicr— pyc
_ COUNTY OF PAEM BEACH

The foregoing instrument was acknowledged before me by means of AGhysical presence

or Conline: notarization, this 2\7* sv day of DEG=HBEH—__, 2021, by.
Derek Chkelseani , authorized person for MVP Realty Associates, LLC. Hel.
she is personally known to me or has produced the following as

identification: Deiveras Li CenSe

(Notary Seal)

s* ot. Notary Puotc State of Fonda
State of Florida
% .

£ ~ wm st
Aaron Krzysik > .

‘ Uf 3 = My Commission GG 306085 Notary Publi

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